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                             UNITED STATES DISTRICT COURT
                                                      for the
                                           Central District of California

                                                           )
             In the Matter of the Search of:               )
  Information associated with accounts identified as                Case No. 2:22-MJ-02568
                                                           )
 slifer999 (ESP User ID slifer999_4ow) and pouchair        )
 that are within the possession, custody, or control of    )
                    MediaLab.AI Inc.                       )
         APPLICATION FOR WARRANT BY TELEPHONE PURSUANT TO 18 U.S.C. § 2703

       I, a federal law enforcement officer, request a warrant pursuant to Title 18, United States Code, Section
2703, and state under penalty of perjury that I have reason to believe that within the following data:
       See Attachment A-4
There are now concealed or contained the items described below:
       See Attachment B-4
       The basis for the search is:
                Evidence of a crime;
                Contraband, fruits of crime, or other items illegally possessed;
                Property designed for use, intended for use, or used in committing a crime.

       The search is related to a violation of:
        Code section(s)                                    Offense Description

        See Attachment B-4
       The application is based on these facts:
       See attached Affidavit, which is incorporated herein by reference.


                                                                             Applicant’s signature
                                                                  Bethany Owens, Special Agent, Homeland
                                                                           Security Investigations
                                                                             Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date: ___________________________________
                                                                                 Judge’s signature
 City and State: __Los Angeles, CA____________                  Hon. Rozella A. Oliver, U.S. Magistrate Judge
                                                                             Printed name and title

AUSA: Claire E. Kelly (x3868)
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                            ATTACHMENT A-4

                       PROPERTY TO BE SEARCHED

     This warrant applies to information associated with the

SUBJECT ACCOUNTS identified as slifer999, with ESP User ID

slifer999_4ow (“KIK ACCOUNT 1”) and pouchair (“KIK ACCOUNT 2”)

(each a “SUBJECT ACCOUNT,” collectively the “SUBJECT ACCOUNTS”)

that are within the possession, custody, or control of

MediaLab.AI Inc., a company that accepts service of legal

process at 1237 7th Street, Santa Monica, California 90401,

regardless of where such information is stored, held, or

maintained.




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                            ATTACHMENT B-4

                          ITEMS TO BE SEIZED

I.   SEARCH PROCEDURES

     1.   The warrant will be presented to personnel of

MediaLab.AI Inc., (the “PROVIDER”), who will be directed to

isolate the information described in Section II below.

     2.   To minimize any disruption of service to third

parties, the PROVIDER’s employees and/or law enforcement

personnel trained in the operation of computers will create an

exact duplicate of the information described in Section II

below.

     3.   The PROVIDER’s employees will provide in electronic

form the exact duplicate of the information described in Section

II below to the law enforcement personnel specified below in

Section IV.

     4.   With respect to contents of wire and electronic

communications produced by the PROVIDER (hereafter, “content

records,” see Section II.10.a. below), law enforcement agents

and/or individuals assisting law enforcement and acting at their

direction (the “search team”) will examine such content records

pursuant to search procedures specifically designed to identify

items to be seized under this warrant.        The search shall extract

and seize only the specific items to be seized under this

warrant (see Section III below).        The search team may use

forensic examination and searching tools, such as “EnCase” and

“FTK” (Forensic Tool Kit), which tools may use hashing and other


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sophisticated techniques, including to search for known images

of child pornography.    The review of the electronic data may be

conducted by any government personnel assisting in the

investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney

support staff, and technical experts.       Pursuant to this warrant,

the investigating agency may deliver a complete copy of the

seized, copied, or disclosed electronic data to the custody and

control of attorneys for the government and their support staff

for their independent review.

     5.     The search team will not seize contraband or evidence

relating to other crimes outside the scope of the items to be

seized without first obtaining a further warrant to search for

and seize such contraband or evidence.

     6.     The search team will complete its search of the

content records as soon as is practicable but not to exceed 120

days from the date of receipt from the PROVIDER of the response

to this warrant.    The government will not search the content

records beyond this 120-day period without first obtaining an

extension of time order from the Court.

     7.     Once the search team has completed its review of the

content records and created copies of the items seized pursuant

to the warrant, the original production from the PROVIDER will

be sealed -- and preserved by the search team for authenticity

and chain of custody purposes -- until further order of the

Court.    Thereafter, the search team will not access the data


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from the sealed original production which fell outside the scope

of the items to be seized absent further order of the Court.

      8.     The special procedures relating to digital data found

in this warrant govern only the search of digital data pursuant

to the authority conferred by this warrant and do not apply to

any search of digital data pursuant to any other court order.

      9.     Pursuant to 18 U.S.C. § 2703(g) the presence of an

agent is not required for service or execution of this warrant.

II.   INFORMATION TO BE DISCLOSED BY THE PROVIDER

      10.    To the extent that the information described in

Attachment A-4 is within the possession, custody, or control of

the PROVIDER, regardless of whether such information is located

within or outside of the United States, including any

information that has been deleted but is still available to the

PROVIDER, or has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the PROVIDER is required to disclose the

following information to the government for each SUBJECT ACCOUNT

listed in Attachment A-4:

             a.   All contents of all wire and electronic

communications associated with KIK ACCOUNT 1 (limited to that

which occurred between January 1, 2021, and the date of this

warrant), and KIK ACCOUNT 2 (limited to that which occurred

between July 31, 2018, and the date of this warrant ),36

including:


       To the extent it is not reasonably feasible for the
      36
PROVIDER to restrict any categories of records based on this
                                   (footnote cont’d on next page)
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                 i.    All emails, communications, or messages of

any kind associated with the SUBJECT ACCOUNT, including stored

or preserved copies of messages sent to and from the account,

draft messages, deleted messages, and messages maintained in

trash or any other folders or tags or labels, as well as all

header information associated with each email or message

(including the actual IP addresses of the sender and recipients

of the emails), and any related documents or attachments.

                 ii.   All records or other information stored by

subscriber(s) of the SUBJECT ACCOUNT, including address books,

contact and buddy lists, calendar data, pictures, videos, notes,

texts, links, user profiles, account settings, access logs, and

files.

                 iii. All records pertaining to communications

between the PROVIDER and any person regarding the SUBJECT

ACCOUNT, including contacts with support services and records of

actions taken.

          b.     All other records and information, including:

                 i.    All subscriber information, including the

date on which the account was created, the length of service,

the IP address used to register the account, the subscriber’s

full name(s), screen name(s), any alternate names, other account

names or email addresses associated with the account, linked

accounts, telephone numbers, physical addresses, and other


date restriction (for example, because a date filter is not
available for such data), the PROVIDER shall disclose those
records in its possession at the time the warrant is served upon
it.
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identifying information regarding the subscriber, including any

removed or changed names, email addresses, telephone numbers or

physical addresses, the types of service utilized, account

status, account settings, login IP addresses associated with

session dates and times, as well as means and source of payment,

including detailed billing records, and including any changes

made to any subscriber information or services, including

specifically changes made to secondary email accounts, phone

numbers, passwords, identity or address information, or types of

services used, and including the dates on which such changes

occurred, for the following accounts:

                      (I)   The SUBJECT ACCOUNTS.

                ii.   All user connection logs and transactional

information of all activity relating to the SUBJECT ACCOUNT

described above in Section II.10.a., including all log files,

dates, times, durations, data transfer volumes, methods of

connection, IP addresses, ports, routing information, dial-ups,

and locations, and including specifically the specific product

name or service to which the connection was made.

III. INFORMATION TO BE SEIZED BY THE GOVERNMENT

     11.   For each SUBJECT ACCOUNT listed in Attachment A-4, the

search team may seize:

           a.   All information described above in Section

II.10.a. that constitutes evidence, contraband, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2252A(a)(2)

(Receipt and Distribution of Child Pornography), 2252A(a)(5)(B)


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(Possession of Child Pornography), and 2251(a)(e) (Production of

Child Pornography) (the “SUBJECT OFFENSES”), namely:

                i.      Information relating to who created,

accessed, or used the SUBJECT ACCOUNTS, including records about

their identities and whereabouts.

                ii.     Information related to how and when the

SUBJECT ACCOUNT was accessed or used;

                iii. Any messages, records, documents, or

material that identify the user(s) of the SUBJECT ACCOUNTS.

                iv.     Child pornography, as defined in 18 U.S.C.

§ 2256(8).

                v.      Any files, records, or messages that refer

to child pornography, as defined in 18 U.S.C. § 2256(8),

including but not limited to documents that refer to the

possession, receipt, distribution, transmission, reproduction,

viewing, sharing, purchase, downloading, production, shipment,

order, requesting, trade, or transaction of any kind, involving

child pornography.

                vi.     Any files, records, or messages that refer

to any of the PROVIDERS, or any accounts with the PROVIDERS,

                vii. Any files, records, or messages sent to or

from the PROVIDERS.

                viii.        Any files, records, or messages tending

to identify persons involved in the possession, receipt,


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distribution, transmission, reproduction, viewing, sharing,

purchase, downloading, production, shipment, order, requesting,

trade, or transaction of any kind, involving child pornography,

as defined in 18 U.S.C. § 2256.

                  ix.   Any files, records, or messages that

identify any minor visually depicted while engaging in sexually

explicit conduct, as defined in 18 U.S.C. § 2256.

                  x.    Any and all files, records, or messages

which are sexually arousing to individuals who are interested in

minors.   Such material is commonly known as “child erotica” and

includes images of children, written materials dealing with

child development, sex education, child pornography, sexual

abuse of children, incest, child prostitution, missing children,

investigative techniques of child exploitation, sexual

disordered, pedophilia, nudist publications, diaries, and

fantasy writings.

                  xi.    Any and all files, records, or messages

pertaining to and/or describing sadistic or violent conduct

towards minors.

                  xii. Any files, records, or messages that pertain

to accounts with any Internet Service Provider or any Electronic

Service Providers.




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                 xiii.       Any passwords, encryption keys, and

other access devices that may be necessary to access folders and

files in the SUBJECT ACCOUNTS.

                 xiv. Information relating to co-conspirators also

engaged in the Subject Offenses, which could include information

relating to their identities, whereabouts, communications, and

methods of contact and communication.

            b.   All records and information described above in

Section II.10.b.

IV.   PROVIDER PROCEDURES

      12.   IT IS ORDERED that the PROVIDER shall deliver the

information set forth in Section II within 10 days of the

service of this warrant.      Notwithstanding 18 U.S.C. § 2252/2252A

or any similar statute or code, the provider shall disclose

responsive data by sending it to the following address via US

Mail, or to the following email address:

            Bethany Owens
            501 West Ocean Boulevard, STE 7200
            Long Beach, CA 90802
            Phone: 562-477-8134
            Email: Bethany.A.Owens@ice.dhs.gov

      13.   IT IS FURTHER ORDERED that the PROVIDER shall provide

the name and contact information for all employees who conduct

the search and produce the records responsive to this warrant.




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                                 AFFIDAVIT

I, BETHANY A. OWENS, being duly sworn, declare and state as

follows:

                            I.    INTRODUCTION

      1.    I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

and have been so employed since September 2019.          I am currently

assigned to the HSI Los Angeles Child Exploitation Task Force,

where I investigate criminal violations relating to child

exploitation and production, distribution, receipt and

possession of child pornography, in violation of 18 U.S.C.

§§ 2252A.   I have received training in the areas of child

pornography and child exploitation and have observed and

reviewed various examples of child pornography, including in the

form of computer media.

      2.    I have assisted in conducting criminal investigations

relating to subjects who use the Internet and two-way

communication devices, such as cellular telephones, to commit

crimes in violation of 18 U.S.C. §§ 2252A.         I have also

participated in the execution of numerous search warrants, many

of which involved child exploitation and/or child pornography

offenses.   I make this affidavit based upon my personal

knowledge and experience, my review of pertinent documentation,

and discussions with other law enforcement officers.

      3.    Through my training and my experience, I have become

familiar with the methods of operation used by people who commit

                                     1
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offenses involving the sexual exploitation of children.           I have

attended training classes concerning computer crimes and the

sexual exploitation of children on the Internet.          This training

and my experience in investigations has given me an

understanding of how people involved with offenses relating to

the sexual exploitation of children use the Internet to further

those offenses.

                       II.   PURPOSE OF AFFIDAVIT

       1.    I make this affidavit in support of an application for

a warrant for information associated with the accounts

identified as follows (collectively, the “SUBJECT ACCOUNTS”):

             a.   hermanlogo23@gmail.com (“GOOGLE ACCOUNT 1”);

             b.   chavezbryan1996@gmail.com (“GOOGLE ACCOUNT 2”);

             c.   batman118264@gmail.com (“GOOGLE ACCOUNT 3”);(with

GOOGLE ACCOUNTS 1 through 3, the “GOOGLE ACCOUNTS”);

             d.   Screenname/username “alex217543” (the “SKYPE

ACCOUNT”);

             e.   Screenname/username “New_EraKid” (the “TWITTER

ACCOUNT”);

             f.   Screenname/username “slifer999” (“KIK ACCOUNT

1”);

             g.   Screenname/username “pouchair” (“KIK ACCOUNT 2”)

(with KIK ACCOUNT 1, the “KIK ACCOUNTS”); and

             h.   Screenname/username “Alex Gee” (the “ZOOM

ACCOUNT”).




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      2.   The SUBJECT ACCOUNTS are controlled by the following

providers (collectively, the “PROVIDERS”):

           a.    The GOOGLE ACCOUNTS are controlled by Google LLC,

which is headquartered at 1600 Amphitheatre Parkway, Mountain

View, California 94043;

           b.    The SKYPE ACCOUNT is controlled by Microsoft

Corporation, which is headquartered at 1 Microsoft Way, Redmond,

Washington 98052;

           c.    The TWITTER ACCOUNT is controlled by Twitter,

Inc., which is headquartered at 1355 Market Street, Suite 900,

San Francisco, California, 94103;

           d.    The KIK ACCOUNTS are controlled by MediaLab.AI

Inc. (“MediaLab”), which is headquartered at 1237 7th Street,

Santa Monica, California 90401; and

           e.    The ZOOM ACCOUNT is controlled by Zoom Video

Communications, Inc. (“Zoom”), which is headquartered at 55

Almaden Blvd, 6th Floor, San Jose, California 95113. 1



      1Because this Court has jurisdiction over the offense(s)
being investigated, it may issue the warrant to compel the
PROVIDERS pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A),
(c)(1)(A). See 18 U.S.C. §§ 2703(a) (“A governmental entity may
require the disclosure by a provider . . . pursuant to a warrant
issued using the procedures described in the Federal Rules of
Criminal Procedure . . . by a court of competent jurisdiction”)
and 2711 (“the term ‘court of competent jurisdiction’ includes -
- (A) any district court of the United States (including a
magistrate judge of such a court) or any United States court of
appeals that -- (i) has jurisdiction over the offense being
investigated; (ii) is in or for a district in which the provider
of a wire or electronic communication service is located or in
which the wire or electronic communications, records, or other
information are stored; or (iii) is acting on a request for
foreign assistance pursuant to section 3512 of this title”).
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       3.      The information to be searched is described in

Attachments A-1, A-2, A-3, A-4, and A-5.        This affidavit is made

in support of an application for a warrant under 18 U.S.C.

§§ 2703(a), 2703(b)(1)(A), 2703(c)(1)(A) and 2703(d) 2 to require

the PROVIDERS to disclose to the government copies of the

information (including the content of communications) described

in Section II of Attachments B-1, B-2, B-3, B-4, and B-5.           Upon

receipt of the information described in Section II of

Attachments B-1, B-2, B-3, B-4, and B-5, law enforcement agents

and/or individuals assisting law enforcement and acting at their

direction will review that information to locate the items

described in Section III of Attachments B-1, B-2, B-3, B-4, and

B-5.       Attachments A-1, A-2, A-3, A-4, and A-5 and B-1, B-2, B-3,

B-4, and B-5 are incorporated herein by reference.

       7.      As described more fully below, I respectfully submit

there is probable cause to believe that the information

associated with the SUBJECT ACCOUNTS constitutes evidence,


       The government is seeking non-content records pursuant to
       2
18 U.S.C. § 2703(d). To obtain the basic subscriber
information, which does not contain content, the government
needs only a subpoena. See 18 U.S.C. § 2703(c)(1), (c)(2). To
obtain additional records and other information--but not
content--pertaining to subscribers of an electronic
communications service or remote computing service, the
government must comply with the dictates of section
2703(c)(1)(B), which requires the government to supply specific
and articulable facts showing that there are reasonable grounds
to believe that the records or other information sought are
relevant and material to an ongoing criminal investigation in
order to obtain an order pursuant to 18 U.S.C. § 2703(d). The
requested warrant calls for both records containing content (see
Attachments B-1, B-2, B-3, B-4, and B-5, paragraph II.10.a.) as
well as subscriber records and other records and information
that do not contain content (see Attachments B-1, B-2, B-3, B-4,
and B-5, paragraph II.10.b.).
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contraband, fruits, or instrumentalities of criminal violations

of 18 U.S.C. §§ 2252A(a)(2) (Receipt and Distribution of Child

Pornography), 2252A(a)(5)(B) (Possession of Child Pornography),

and 2251(a)(e) (Production of Child Pornography) (collectively,

the “SUBJECT OFFENSES”).

        8.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, the

training and experience of more experienced law enforcement

agents, with whom I have discussed this case, and information

obtained from other agents and witnesses.         This affidavit is

intended to show merely that there is sufficient probable cause

for the requested warrant and does not purport to set forth all

of my knowledge of or investigation into this matter.           Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

  II.     BACKGROUND ON INTERNET PROTOCOL ADDRESSES, AND CYBERTIPS
         OBTAINED BY THE NATIONAL CENTER FOR MISSING AND EXPLOITED
                                  CHILDREN

        9.   An Internet Protocol (“IP”) address is a unique

numeric address used by computers on the Internet.          An IP

address is generally a series of four or eight sets of numbers,

each in the range 0-255, separated by periods or colons (e.g.,

121.56.97.178, 2600:1700:ddb0:db50:6168:4f35:f8a7:315c).            Every

computer connected to the Internet is assigned an IP address so

that Internet traffic sent from and directed to that computer

may be directed properly from its source to its destination.


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Most Internet Service Providers (“ISPs”) control a range of IP

addresses.     Some computers have static IP addresses (IP

addresses that are assigned for a long period of time) while

other computers have dynamic IP addresses (short-term IP

addresses that frequently change).       From my training and

experience, I know that any computer that accesses the Internet

must do so through an ISP.      The ISP identifies the computer

during the connection session by assigning it an IP address.

        10.   There are two versions of IP addresses:      IPv4 and

IPv6.    IPv4 is the most widely used IP, and uses four groups of

numbers separated by periods in a 32-bit address scheme (e.g.,

121.56.97.178).     IPv6 uses colons to separate eight alphanumeric

groups (e.g., 2001:0:1760:e3e7:1858:2cea:d075:6c4c).          In a

simple example, one computer in a home may connect directly to

the Internet with an IP Address assigned by an ISP.          What is

more typical is that one home may connect multiple digital

devices to the internet simultaneously, including laptops,

tablets, smart phones, smart televisions, and gaming systems.

Because the home subscriber typically only has one Internet

connection and is only assigned one IP Address at a time by

their ISP, multiple devices in a home connect to the Internet

via a router or hub.     The devices connect to the router or hub,

and the hub connects to the Internet.        Internet activity from

every device attached to the router or hub is using the same

external IP Address assigned by the ISP.        The router or hub

“routes” Internet traffic so that it reaches the proper device.


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Most ISPs control a range of IP Addresses.         Most ISPs maintain

records of which subscriber was assigned to which IP Address

during an online session.

      11.   The National Center for Missing and Exploited Children

(“NCMEC”) was established in 1984 as a private, nonprofit

organization.    NCMEC provides services nationwide for families

and professionals concerning abducted, endangered, and sexually

exploited children.     Under its mission and its congressional

authorization, NCMEC operates a Cybertip line, which is

essentially a forum for private citizens and businesses to

report information concerning the mission of NCMEC, including

the sexual exploitation of children.

      12.   Under 18 U.S.C. § 2258A, if an ISP such as the

PROVIDERS locates the presence of child pornography in a user’s

account with a PROVIDER, a Cybertip Report (a “Cybertip”) must

be submitted to NCMEC.      While ISPs such as the PROVIDERS will

report the presence of any child pornography they find to NCMEC,

they do not conduct an exhaustive search of, for example, a

user’s email account or cloud storage.        Instead, they typically

use some automated method for locating images of suspected child

pornography.    This may include the use of automated technologies

that compare the hash values of images contained in the user’s

account to the hash values of known images of child pornography.

      13.   When NCMEC receives a Cybertip concerning the sexual

exploitation of children, NCMEC analysts conduct preliminary

research to determine the possible location of the incident, and


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then forward the information to the appropriate Internet Crimes

Against Children task force or the appropriate law enforcement

agency for a follow-up investigation.

                    III. SUMMARY OF PROBABLE CAUSE

      14.   HSI and the Federal Bureau of Investigation (“FBI”)

learned of a Cybertip that had been submitted to NCMEC linking

GOOGLE ACCOUNT 1 and KIK ACCOUNT 1 to suspected child

pornography.    The subscriber of the IP address that was most

often used to upload the suspected child pornography files was

assigned to Juan Chavez (“J. CHAVEZ”) and the physical address

associated with this IP Address was J. CHAVEZ’s residence

located at 5853 Estrella Avenue, Los Angeles, California 90044

(the “SUBJECT PREMISES”).      The remaining IP addresses used to

upload the suspected child pornography belonged to T-Mobile, a

mobile telecommunication company.

      15.   In November of 2021, a federal search warrant was

executed at the SUBJECT PREMISES.        While previewing multiple

digital devices on scene pursuant to the search warrant,

investigators found suspected child pornography on digital

devices that appear to belong to BRYAN CHAVEZ (“B. CHAVEZ”).

Investigators also discovered that B. CHAVEZ lives at the

SUBJECT PREMISES.

      16.   Upon forensic review of three digital devices (SUBJECT

DEVICES 1, 2, and 3, collectively the “SUBJECT DEVICES”) that

all appeared to be associated with B. CHAVEZ and that were found

during the search of the SUBJECT PREMISES, law enforcement found


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files of suspected child pornography.        Some of this child

pornography appeared to depict victims who were a few months old

and younger.    I submitted approximately 370 files to NCMEC to be

compared with their Child Recognition and Identification System

(“CRIS”).   NCMEC confirmed that of these submitted files,

approximately 15 images and 94 videos match known victims in

CRIS who were minors at the time the child pornography was

produced.   Additionally, approximately 36 files of suspected

child pornography contain apparent minors who have yet to be

identified.3    One additional partial video file appears to depict

an individual who resembles B. CHAVEZ licking the upper thigh of

a partially clothed minor who appears to be between the ages of

approximately four and six.4

      17.   Through the law enforcement review of the SUBJECT

DEVICES, law enforcement found email, communication, and social

media accounts (the SUBJECT ACCOUNTS) apparently used by B.

CHAVEZ or registered to accounts apparently used by B. CHAVEZ.

These included KIK ACCOUNT 1 (used to upload and distribute

child pornography) and GOOGLE ACCOUNT 1 (the email account

associated with KIK ACCOUNT 1).       SUBJECT DEVICES 1 and 2 also




     3 These files appear to be newer productions as some of them
had not been seen before by NCMEC and others have only been seen
several times. The rest of these files contain apparent minors
and offenders who have not yet been identified by law
enforcement or NCMEC.
      4While this file likely does not meet the definition of
child pornography on its own, this depiction and B. CHAVEZ’s
possession of such depiction is evidence of a sexual interest in
children.
                                9
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included Zoom and Skype5 chats in which users (including the

SKYPE ACCOUNT) discussed sexually assaulting, torturing, and

killing babies.

      18.   Some of the SUBJECT ACCOUNTS are associated with child

pornography and child exploitation, and/or are connected to

other SUBJECT ACCOUNTS, as follows:

            a.    hermanlogo23@gmail.com (GOOGLE ACCOUNT 1): Email

account listed in subscriber information for KIK ACCOUNT 1

according to the Cybertip.      KIK ACCOUNT 1 was used to upload and

distribute suspected child pornography according to the

Cybertip.

            b.    chavezbryan1996@gmail.com (GOOGLE ACCOUNT 2):

Email account reported to be associated with the SKYPE ACCOUNT.

One of the SUBJECT DEVICES was reported to contain a chat in

which the user of the SKYPE ACCOUNT discussed sexually

assaulting children.

            c.    batman118264@gmail.com (GOOGLE ACCOUNT 3): Email

account reported to be associated with the ZOOM ACCOUNT.

Suspected child pornography found on one of the SUBJECT DEVICES

was reported to be located in a file folder whose file name

referenced the ZOOM ACCOUNT.

            d.    Screenname/username “alex217543” (the SKYPE

ACCOUNT): Skype account that reportedly included discussions of




      5From my training and experience, I am aware that Zoom and
Skype are applications that allow users to communicate via chat
or audio/video conferencing.
                                10
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the sexual assault of children.       In one Skype chat, it appears

this user claims to have molested his or her niece.

           e.    Screenname/username “New_EraKid” (the TWITTER

ACCOUNT): Investigators found suspected child pornography on one

of the SUBJECT DEVICES that, based on the reported location of

the files, appears to have been obtained or distributed using

Twitter, although the evidence did not indicate which Twitter

account received or distributed the files.         The TWITTER ACCOUNT

appears to be used by B. CHAVEZ because the forensic report of

one of the SUBJECT DEVICES showed an email that included the

following text: “We noticed a recent login for your account

@New_EraKid.”

           f.    Screenname/username “slifer999” (KIK ACCOUNT 1):

Account identified in the Cybertip as being used to upload and

distribute approximately 69 files of suspected child pornography

to Kik Messenger.

           g.    Screenname/username “pouchair” (KIK ACCOUNT 2):

Evidence on one of the SUBJECT DEVICES reportedly shows that

GOOGLE ACCOUNT 3 was used to sign up for KIK ACCOUNT 2.           In

light of evidence that B. CHAVEZ uses a wide range of electronic

communication applications (including to discuss child

exploitation with like-minded individuals), and the fact that it

appears he used Kik Messenger to upload and distribute suspected

child pornography (through KIK ACCOUNT 1), there is probable

cause that evidence of the SUBJECT OFFENSES will also be found

on this second KIK ACCOUNT.


                                    11
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              h.   Screenname/username “Alex Gee” (the ZOOM

ACCOUNT): Suspected child pornography found on SUBJECT DEVICE 1

was reportedly located in a file folder whose file name appeared

to indicate this child pornography was downloaded and/or

distributed in a Zoom chat involving the ZOOM ACCOUNT.

      19.     Based on my training and experience and the evidence

in this case, including what appears to be B. CHAVEZ’s use of a

wide range of electronic accounts for discussing, receiving, and

distributing child pornography, there is probable cause that

evidence of the SUBJECT OFFENSES will be found on the SUBJECT

ACCOUNTS.

                    IV.   STATEMENT OF PROBABLE CAUSE

          HSI and FBI Receive NCMEC CyberTip Report Concerning the
               Uploading and Distribution of Child Pornography

      20.     On or about June 3, 2021, SA Tim Alon reviewed

Cybertip Report #91769445 (the “Cybertip”) and associated files

that MediaLab6 sent to NCMEC on or about May 30, 2021.          According

to the Cybertip, Kik Messenger 7 user “slifer999” uploaded to Kik

between or about April 12, 2021, and April 29, 2021,

approximately 69 files using the account “slifer999” (“KIK



     6 MediaLab.AI Inc., also known as MediaLab, owns Kik
Messenger.
      7Based on my training and experience, I am aware that Kik
Messenger, also known as “Kik,” is a free instant messenger
application for mobile devices (i.e., smart phones, tablets,
etc.). The Kik application uses the Internet connection through
the mobile devices’ cellular data plan or through wi-fi to send
and receive messages, photos, videos, and other content between
Kik users. A Kik user chooses a unique username for their
account when registering their account in the application. Kik
allows users to search for other users by username.
                                12
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ACCOUNT 1”) that MediaLab identified as child sexual

exploitative material.      In the Cybertip, MediaLab confirmed that

it had viewed the files in question and that the files had been

sent by the user in either private or group messages.           SA Alon

reviewed the files on or about June 3, 2021, and confirmed all

of them appeared to include content containing the sexual

exploitation of children.      Most of the content relates to the

sexual exploitation of toddlers and babies.         The following are

examples of the content SA Alon viewed:

             a.    “0d07f611-0f1b-48fa-9559-eeee1091244f.jpg” – This

image appears to depict a female baby lying on her back with her

legs spread.      Her genitals are exposed.    An erect penis is

touching her genitals.

             b.    “0a8fef35-e3e8-486a-b1f6-c07150f34779.mp4” – This

video appears to depict a female toddler lying on her back

naked.     An adult male attempts to penetrate her genitals with

his erect penis.      He ejaculates on her stomach.

             c.    “0df4b5f6-9740-4e52-97ba-7edbfef8bdef.mp4” – This

video appears to depict a female toddler lying on her back with

her legs spread.      Her genitals are exposed.     An adult male rubs

his erect penis on her genitals and anus.

             d.    “6b4bfc5d-c75e-414b-a0cb-7f4d768354c2.mp4” – this

video appears to depict a naked baby lying on his or her

stomach.     An adult male attempts to penetrate the baby’s anus

with his erect penis.




                                    13
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      21.   According to the Cybertip, MediaLab provided the

following subscriber information for KIK ACCOUNT 1:

            a.     Email Address: hermanlogo23@gmail.com (GOOGLE

ACCOUNT 1)8

            b.     Screen/User Name: slifer999

            c.     ESP User ID: slifer999_4ow

            d.     IP Address: 75.54.116.228 (the “Target IP

Address”) (Login) 04-30-2021 05:38:59 UTC

   Investigators Identify the Subscriber of the Target IP Address
             That Uploaded the Child Pornography to Kik

      22.   According to the Cybertip, the suspected child

pornography was uploaded approximately 37 times using the Target

IP Address.      Database checks showed that the Target IP Address

was registered to internet service provider AT&T U-verse.           The

remaining IP addresses used to upload the suspected child

pornography were associated with T-Mobile.

      23.   On or about June 8, 2021, SA Alon obtained subscriber

information from AT&T for the Target IP Address.          According to

AT&T, the subscriber of the Target IP Address was J. CHAVEZ at

the SUBJECT PREMISES.

      24.   In June 2021, SA Alon confirmed that the SUBJECT

PREMISES is listed as J. CHAVEZ’s address according to the


      8Because KIK ACCOUNT 1, which is associated with GOOGLE
ACCOUNT 1, uploaded the suspected child pornography files in or
about April 2021, I am seeking contents of all wire and
electronic communications associated with KIK ACCOUNT 1 and
GOOGLE ACCOUNT 1 which occurred between January 1, 2021
(approximately three months before the uploads) and the date of
this warrant, as described in Attachments B-1 and B-4, Section
II.10a.
                                14
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California Employment Development Department database and

California DMV.

      25.    In September 2021, law enforcement conducted

surveillance at the SUBJECT PREMISES and reported that they saw

a person who appeared to match a California DMV photo of

J. CHAVEZ.

      26.    On or about October 27, 2021, an HSI criminal analyst

reviewed DMV records and publicly accessible records and found

multiple additional individuals that possibly resided at the

SUBJECT PREMISES, including B. CHAVEZ.

        Execution of a Search Warrant at the SUBJECT PREMISES

      27.    On October 29, 2021, the Honorable Michael R. Wilner,

United States Magistrate Judge, issued a search warrant for the

SUBJECT PREMISES in case number 2:21-MJ-04982 (the “October 2021

Warrant”), for offenses relating to possession, receipt, and

distribution of child pornography.       The warrant and the

affidavit underlying the warrant are incorporated herein by

reference.    Among other evidence, the warrant authorized the

search and seizure of all digital devices found on the SUBJECT

PREMISES which were themselves or which contained evidence,

contraband, fruits, or instrumentalities of the target child

pornography offenses, and forensic copies thereof.

      28.    On or about November 3, 2021, law enforcement executed

the warrant at the SUBJECT PREMISES.        Both B. CHAVEZ and

J. CHAVEZ, among others, were present at the SUBJECT PREMISES

when the October 2021 warrant was executed.


                                    15
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      29.    During the search warrant execution, SA Alon and I

conducted a consensual interview of B. CHAVEZ at the SUBJECT

PREMISES.    The interview was conducted in a bedroom in the

residence.    B. CHAVEZ was informed the interview was being

recorded, and sat in a chair closest to the door of the bedroom.

SA Alon and I did not have any weapons or law enforcement

insignia displayed, although we introduced ourselves to

B. CHAVEZ as law enforcement officers.        Law enforcement told

B. CHAVEZ that he was free to terminate the interview at any

time and that law enforcement did not have an arrest warrant.

At the conclusion of the interview law enforcement did not

arrest B. CHAVEZ.

      30.    Law enforcement informed B. CHAVEZ that the interview

was consensual and that he did not have to answer any questions

he did not wish to.     At the beginning of the interview,

B. CHAVEZ was given a copy of ICE Form 73-025, Statement of

Rights, as well as a copy of the search warrant.          B. CHAVEZ

stated he did not mind speaking with investigators.          B. CHAVEZ

did not sign the Statement of Rights form, and SA Alon and I did

not read the rights listed on the form to B. CHAVEZ.

      31.    During this interview, B. CHAVEZ stated he had lived

at the SUBJECT PREMISES for most of his life.         B. CHAVEZ

indicated which bedroom was his and said he has a blue iPhone

12.   B. CHAVEZ said he shares a T-Mobile cell phone plan with

his mother and that he thought his brothers were on separate




                                    16
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plans.     B. CHAVEZ stated the whole family shares an internet

provider.

       32.   B. CHAVEZ denied having child pornography on his phone

or computer and denied seeing it at the house.         About 30 minutes

into the interview, SA Alon asked B. CHAVEZ again whether there

would be child pornography on his computer or phone.          In

response, B. CHAVEZ said, “I plead the Fifth,” and said he

wanted to stay silent.      Investigators continued the interview as

to other topics relating to the investigation.         This affidavit

does not rely on any statements made by B. CHAVEZ after he

indicated he wished to stay silent.

       33.   During the search of the SUBJECT PREMISES,

investigators seized three digital devices from the bedroom that

B. CHAVEZ identified as his bedroom: a silver MacBook Air

(“SUBJECT DEVICE 1”), a blue Apple iPhone 12 Pro (“SUBJECT

DEVICE 2”), and a silver Microsoft Surface (“SUBJECT DEVICE 3”)

(collectively, the “SUBJECT DEVICES”).        During the execution of

the search warrant, when investigators were entering the

residence, they gave verbal commands for the residents to come

out.     B. CHAVEZ did not immediately come out of his room but

only came out when SAs were in close proximity to his closed

bedroom door.     During the search of the SUBJECT PREMISES,

SUBJECT DEVICE 2 was discovered fully charged but powered off

inside a folder in a dresser drawer next to B. CHAVEZ’s bed.

SUBJECT DEVICE 3 was found between the mattress and the box

spring of B. CHAVEZ’s bed.


                                    17
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     Investigators Seized Digital Devices Associated with B. CHAVEZ
     and the SUBJECT ACCOUNTS and Discovered Child Pornography
     Files

       34.   An HSI Computer Forensics Agent forensically extracted

data from the SUBJECT DEVICES, which I reviewed as authorized by

the October 2021 Warrant.      Each of the SUBJECT DEVICES were put

in airplane mode and/or disconnected from the Internet during

the extraction/imaging process to ensure no cloud data was

accessed during the search of the devices. 9

             1.   Evidence Indicating B. CHAVEZ Is the User of the
                  SUBJECT DEVICES

       35.   During the review of the SUBJECT DEVICES, I found

evidence linking B. CHAVEZ to the devices, including the

following:

             a.   SUBJECT DEVICE 1 is a Silver MacBook Air bearing

serial number C02VQ0R1J1WK.      During the consensual interview,

B. CHAVEZ provided the password for his laptop computer as

“5kme185” which was used to successfully log onto SUBJECT DEVICE

1.    Law enforcement found additional evidence of ownership on

this device, including digital images of B. CHAVEZ’s passport,

California’s driver’s license, and Chrome Saved Credit Cards

with “Bryan Chavez” reported as the Name on Card.          The “Computer

Name” of SUBJECT DEVICE 1 was reported as “Bryan’s MacBook Air.”

             b.   SUBJECT DEVICE 2 is a blue Apple iPhone 12 Pro

bearing serial number F17F43LA0D83.        During the consensual



       SUBJECT DEVICES 1 and 2 were placed into airplane mode
       9
prior to extracting/imaging their data. SUBJECT DEVICE 3 was
not placed in airplane mode, but it did not have a network
connection while being imaged.
                                18
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interview, B. CHAVEZ provided his phone number as 323-494-7057,

which is the same number assigned to SUBJECT DEVICE 2.           Also,

during the interview, B. CHAVEZ voluntarily gave the passcode

for SUBJECT DEVICE 2 as “5853,” which was successfully used to

unlock SUBJECT DEVICE 2.      SUBJECT DEVICE 2 contained more than

twenty photographs of B. CHAVEZ that appeared to be taken by

B. CHAVEZ (also known as “selfies”).        The device also contained

photographs of identification cards bearing the name of

B. CHAVEZ, including his California Driver’s license and a work

photo identification for the Behavioral Learning Network.

Additionally, SUBJECT DEVICE 2 is reportedly named “Bryan’s

iPhone” with an Apple ID of “chavezbryan36@yahoo.com.”

            c.    SUBJECT DEVICE 3 is a Silver Microsoft Surface

tablet bearing serial number 058806144953.         Investigators used

the same PIN for SUBJECT DEVICE 2 (5853) to successfully unlock

SUBJECT DEVICE 3.     Reported under User Accounts was the User

Name of “Bryan” with the Full Name of “Bryan Chavez.”

            2.    Child Pornography Is Found on the SUBJECT DEVICES

      36.   During my search of the SUBJECT DEVICES, I identified

approximately 114 images and 256 videos of suspected child

pornography. I submitted these suspected child pornography files

to NCMEC to determine whether these files included known child

pornography.     NCMEC confirmed that of these submitted files,

approximately 15 images and 94 videos match known victims who

were minors at the time the child pornography was produced.

These known images of child pornography were found on SUBJECT


                                    19
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DEVICE 1 and SUBJECT DEVICE 2.       Additionally, approximately 36

files of suspected child pornography depicted apparent minors

who have yet to be identified. 10

      37.   One additional partial video file found during the

review of the forensic report of SUBJECT DEVICE 2 depicts an

adult male licking the upper thigh of what appears to be a minor

between the ages of approximately four and six years old, based

on the estimated size of the minor’s body.         The video is

approximately 11 seconds long. 11     The side of the adult male’s

face is visible and he resembles B. CHAVEZ.         The minor is only

partially visible.     The minor is lying on a couch, and their

legs and part of their hip area can be seen.         The minor is

wearing multi-colored underwear, no pants, and red socks with

cartoon-style tacos on them.12      It appears saliva is running down

the minor’s leg.     While the video likely does not meet the

definition of child pornography, it does demonstrate a sexual

interest in children.




       These files may be newer productions as some of them had
      10
not been seen before by NCMEC and others have only been seen
several times. These files contain apparent minors and
offenders who have not yet been identified by law enforcement or
NCMEC.
     11 It appears this is only a partial file and part of the
data has been overwritten. I also found two digital images
which appear to be taken from this video.
       An image of the taco socks was shown to family members of
      12
B. CHAVEZ but none of them recognized the socks. Investigators
learned that B. CHAVEZ’s minor niece lives with her parents in
the converted garage space at the SUBJECT PREMISES. The niece
and her mother were present at the SUBJECT PREMISES during the
search. Investigators searched the converted garage space for
these socks and did not find them.
                                20
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      38.    SUBJECT DEVICE 1 contained a video file in a folder

that, based on where it reportedly was stored in the device,

appears to be associated with an August 2021 chat involving the

ZOOM ACCOUNT (username “Alex Gee”).        The file was found in the

following filepath:13     \Users\bryanchavez\Documents\Zoom\2021-08-

29 18.55.45 Alex Gee's Zoom Meeting 86401778276\.          According to

NCMEC, this video is a match to known child pornography and

depicts confirmed minors.

      39.    On two of the SUBJECT DEVICES, investigators found

links between the ZOOM ACCOUNT and B. CHAVEZ:

             a.   An email message file reported to depict an email

from November 26, 2018, from “Zoom <teamzoom@zoom.us>” to “Alex

Gee14 <batman118264@gmail.com>”15 with the subject line of

“Welcome to Zoom!”16     The batman118264@gmail.com account (GOOGLE

ACCOUNT 3) is linked to B. CHAVEZ through an email message

reported to be on a SUBJECT DEVICE from “Twitter

<verify@twitter.com>” to “Bryan <batman118264@gmail.com>” with



     13 Based on my training and experience, I believe the
filepath shows where on a device a file is located.
      14   This is the username for the ZOOM ACCOUNT.
      15   This is GOOGLE ACCOUNT 3.
       Because the date of this email is November 26, 2018, and
      16
it appears to be the date the ZOOM ACCOUNT was created, I am
seeking contents of all wire and electronic communications
associated with the ZOOM ACCOUNT which occurred between November
26, 2018 and the date of this warrant, as described in
Attachment B-5, Section II.10a. As described in further detail
below, SUBJECT DEVICE 3 contained Zoom chats (involving users
other than the ZOOM ACCOUNT) dating back to 2017 in which the
users discussed wanting to rape babies. Accordingly, it appears
B. CHAVEZ has been accessing Zoom chats since at least 2017 in
an effort to further his interest in child sexual exploitation.
                                21
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the subject line of “New login to Twitter from Safari on Mac.”

Bryan is B. CHAVEZ’s first name.

            b.   A digital image, titled “IMG_0893.HEIC,” which

appeared to depict a photo of computer screen during a Zoom

Meeting.    In this image, there are, multiple Zoom windows open

where the words “Gee’s Zoom Meeting” and “Alex Gee (You)” 17 are

visible.

      40.   Law enforcement also discovered approximately 12 files

containing suspected child pornography reported to be on SUBJECT

DEVICE 3 in a file path associated with Twitter under the Users

folder for “Bryan”:

Windows\Users\Bryan\AppData\Local\Packages\9E2F88E3.Twitter_wgeq

dkkx372wm\LocalState\627292675\.local_cache\Media\.          One of the

files is an image that depicts an apparent minor orally

copulating a penis.     The minor appears to be approximately under

10 years old.    The forensic data does not indicate the specific

Twitter username or account associated with these suspected

child pornography files.      However, investigators found evidence

on SUBJECT DEVICES 1 and 3 that B. CHAVEZ uses Twitter,

specifically through the TWITTER ACCOUNT (“New_EraKid”).

            a.   An email message file depicting an email on

February 5, 2017, from “Twitter <verify@twitter.com>” with the

subject line of “New login to Twitter from Safari on iPhone” and




       In my training and experience, the reference to “(You)”
      17
here indicates that who whoever was logged into the computer
depicted in the photograph was using the “Alex Gee” account (the
ZOOM ACCOUNT) at the time the photograph was taken.
                                22
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the following text: “We noticed a recent login for your account

@New_EraKid.”18

            b.    An email message file depicting a July 18, 2018

email from “Twitter <verify@twitter.com>” to “Bryan

<batman118264@gmail.com>” (GOOGLE ACCOUNT 3) with the subject

line of “New login to Twitter from Safari on Mac” and the

following text: “We noticed a recent login for your account

@New_EraKid.”     The email indicated the approximate location of

the login was Los Angeles, California, based on the IP address.

      41.   I believe the above files and their locations on the

SUBJECT DEVICES indicate the files were uploaded and/or received

via Zoom and Twitter, further showing probable cause that

evidence of the SUBJECT OFFENSES will be found in the ZOOM

ACCOUNT and the TWITTER ACCOUNT.

      42.   Other child pornography files were located elsewhere

on the SUBJECT DEVICES.

            3.    Additional Evidence of Child Pornography and
                  Communications Relating to Child Exploitation

      43.   During the review of the SUBJECT DEVICES, I found

additional evidence linking the SUBJECT DEVICES, the SUBJECT

ACCOUNTS, B. CHAVEZ, and references to child exploitation.           This

evidence included chats in which users discussed their sexual




       Because this email is reportedly dated February 5, 2017,
      18
and indicates that the TWITTER ACCOUNT was an existing account
at that time, I am seeking contents of all wire and electronic
communications associated with the TWITTER ACCOUNT which
occurred between November 5, 2016 (approximately three months
before the date of the email) and the date of this warrant, as
described in Attachment B-3, Section II.10a.
                                23
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interest in children, and molesting children.         Several examples

are listed below.

                     a.   Child Exploitation Linked to the SKYPE
                          ACCOUNT, GOOGLE ACCOUNT 2, and GOOGLE
                          ACCOUNT 3

        44.     Under Skype Activity in SUBJECT DEVICE 1, the username

“alex217543” (the SKYPE ACCOUNT) was reported as the Profile

Name.        As described below, the user of the SKYPE ACCOUNT engaged

in chats discussing the sexual exploitation of children.           The

messages from the SKYPE ACCOUNT were outbound, suggesting that

the account was used by the user of SUBJECT DEVICE 1.

        45.     SUBJECT DEVICE 1 reportedly included an email message

file depicting an email from “Microsoft Account – Unmonitored

Email <unmonitored@microsoft.com>” to “<Batman118264@gmail.com>”

(GOOGLE ACCOUNT 3) with the subject line of “Your account

recovery request for alex217543.”        This email indicates that

GOOGLE ACCOUNT 3 is associated with the SKYPE ACCOUNT.           Under

Apple Accounts for Local Account “bryanchavez” on SUBJECT DEVICE

1, GOOGLE ACCOUNT 3 was reported as a User Name, further

evidence linking GOOGLE ACCOUNT 3 to B. CHAVEZ.

        46.     On SUBJECT DEVICE 3, the Skype Names “alex217543” (the

SKYPE ACCOUNT) and “live:chavezbryan1996” were reportedly

associated with the “chavezbryan1996@gmail.com” account (GOOGLE

ACCOUNT 2).        The forensic report showed that the Profile for the

SKYPE ACCOUNT was created on June 27, 2016. 19


       Because the forensic review of the SUBJECT DEVICES
        19
revealed chats involving the SKYPE ACCOUNT dating back to July
                                   (footnote cont’d on next page)
                                24
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      47.   In a 2018 Skype chat reported on SUBJECT DEVICE 1, the

user of the SKYPE ACCOUNT claimed to have molested his or her

niece.

      48.   In a 2017 Skype chat reported on SUBJECT DEVICE 1,

user “alex217543” (the SKYPE ACCOUNT) and another user discussed

sexually assaulting babies (typos in original):

            justlooking114: How’s that baby loving cock?

            alex217543: Loving babies still man

            alex217543: How’s ur pedo cock

            justlooking114: My cock needs to share new born hole

            with you fucker

            alex217543: Mhmm fuck yes man

            justlooking114: My white cock making that little

            fucker cry

            alex217543: Mhmm I fuckibg missed perving with you man

      49.   In a 2019 chat, the user of the SKYPE ACCOUNT

described his or her sexual interest in girls (“g”) ages newborn

to five (“0-5”), and boys (“b”) ages newborn to 12 (“0-12”):

            alex217543: into

            blackstudla: yng, taboo, no limits. you?

            alex217543: yng 0+

            blackstudla: b or g or both?



22, 2016, and the SKYPE ACCOUNT Profile was created on June 27,
2016, I am seeking contents of all wire and electronic
communications associated with the SKYPE ACCOUNT and GOOGLE
ACCOUNTS 2 and 3 (the email addresses associated with the SKYPE
ACCOUNT) which occurred between June 27, 2016 and the date of
this warrant, as described in Attachments B-1 and B-2, Section
II.10a.
                                25
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            alex217543: g 0-5 b 0-12

      50.   In a Skype chat reported on SUBJECT DEVICE 1, the user

of the SKYPE ACCOUNT also claims to have molested a niece.           The

following is an excerpt from a chat that took place on or about

January 19, 2018, and does not reflect the entire contents of

the chat log (typos in original):

            soramaro989: what have u all done with your niece

            alex217543: Everything

                 b.    Evidence Relating to Kik Messenger and KIK
                       ACCOUNT 1

      51.   As described above, the Cybertip reported that child

pornography was uploaded and distributed by KIK ACCOUNT 1, and

GOOGLE ACCOUNT 1 was listed in the subscriber information for

KIK ACCOUNT 1.    I found evidence on at least one of the SUBJECT

DEVICES linking the devices to Kik Messenger in general, and KIK

ACCOUNT 1 and GOOGLE ACCOUNT 1 in particular:

            a.   A search of the forensic image for SUBJECT

DEVICE 1 for the term “slifer999” (username for KIK ACCOUNT 1)

resulted in approximately 19 results.

            b.   In SUBJECT DEVICE 1, the username “slifer” was

reported as a User Name under Chrome Logins.         This username is

similar to that of KIK ACCOUNT 1 (“slifer999”).

            c.   A search of the forensic images/extractions for

SUBJECT DEVICES 1 and 2 for the phrase “hermanlogo23@gmail.com”

(GOOGLE ACCOUNT 1) resulted in approximately 56 results on

SUBJECT DEVICE 1, and approximately four results on SUBJECT



                                    26
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DEVICE 2.   This is the email account included in the subscriber

information for KIK ACCOUNT 1.

            d.   I also found evidence of a second Kik account

(KIK ACCOUNT 2, with screenname/username “pouchair”) reported on

SUBJECT DEVICE 1: an email message file depicting an email from

July 31, 2018, from “Kik <no-reply@kik.com>” to

“<batman118264@gmail.com>” (GOOGLE ACCOUNT 3) with a subject

line of “Welcome to Kik! Confirm your details inside…” and email

content that references the Kik username “pouchair.”          In my

training and experience, Kik is an application frequently used

to distribute child pornography.         This email appears to show KIK

ACCOUNT 2 was created on July 31, 2018.         I am seeking contents

of all wire and electronic communications associated with KIK

ACCOUNT 2 which occurred between July 31, 2018, and the date of

this warrant, as described in Attachment B-4, Section II.10a.

In light of evidence that B. CHAVEZ uses a wide range of

electronic communication applications (including to discuss

child exploitation as early as 2017, as described above), and

evidence that he used Kik Messenger to upload and distribute

suspected child pornography, I believe there is probable cause

that evidence of the SUBJECT OFFENSES will also be found on this

second KIK ACCOUNT.




                                    27
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                  c.   Search History and Chats Describing Rape,
                       Sexual Assault, and Murder of Babies

      52.    The forensic report of SUBJECT DEVICE 2 also contained

a digital image which appears to depict an Omegle search on a

computer.20    Under the box for “What do you want to talk about?”

were the following terms: perv 21, nepi22, lil23, yng, infants,

young, ped, pedo24, babies, toddler, yung25, premie26, preschool,

preschoole[r]27, newborn, newborns, raping.

      53.    Also, during the forensic review, I viewed reports of

electronic communications where individuals discussed a sexual

interest in children, including talk of raping and killing

babies.     During the search of SUBJECT DEVICE 3, law enforcement

found reports of Zoom message files between various users.           One

Zoom chat reported on SUBJECT DEVICE 3 appeared to take place on

or about November 3, 2017, between user “hey pervs” and user




     20 Omegle is an online chat website that allows users to
communicate with each other anonymously, including by text and
video conferencing.
       Based on my training and experience, “perv” is short for
      21
“pervert.”
     22 Based on my training and experience, “nepi” is short for
“nepiophilia.”
       Based on my training and experience, “lil” is short for
      23
“little.”
     24 Based on my training and experience, “ped” and “pedo” are
short for “pedophile.”
       Based on my training and experience, “yng” and “yung” are
      25
short for “young.”
     26 Based on my training and experience, “premie” is a term
for a premature baby.
       In the image, the computer mouse was over the end of this
      27
word, covering what likely seems to be the “r” in “preschooler.”
                                28
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“Ungodly sublime.”28     This chat appears to begin with both users

using written messages to communicate.        However, during the

course of the conversation, it appears one user, “hey pervs,”

may have transitioned to voice chat and “Ungodly Sublime”

continued to type messages, because only Ungodly Sublime’s

messages are visible and “hey pervs” asks “can you hear me?” to

which “Ungodly Sublime” replies, “when you hold it” and then

“the mic” (apparently referring to a microphone).          The following

is an excerpt from this part of the chat and does not reflect

the entire contents of the chat log (typos in original):

             Ungodly Sublime: wanna kill some babies with you. kiss

             as they’re gaming for air

             [. . .]

             Ungodly Sublime: what do you like most about yng?

             [. . .]

             Ungodly Sublime: same, plus I love pain and screams

             Ungodly Sublime: i wanna rape and snuff29 a basement

             full of babies and toddlers

             Ungodly Sublime: how do you wanna kill them with me?

      54.     In another Zoom chat reported on SUBJECT DEVICE 3 in

2017, one user, “bbyluv,” asks: “any exp?” 30       In response,



       The user “hey pervs” claims to be from “LA” (that is, Los
      28
Angeles) and be 21 years old and 5’9.” This information is
consistent with B. CHAVEZ’s location, age, and description at
the time of this chat.
      29   Based on my training and experience, “snuff” means kill.
       Based on my training and experience, “exp” is short for
      30
“experience,” that is, having committed contact sexual offenses
against children.
                                29
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another user, “bby rape,” says “yes [. . .] my niece [. . .]

shes 6months.”31    In another chat, this user claims to live in

Torrance, California.32

      55.    Other than what has been described herein, to my

knowledge the United States has not attempted to obtain the

contents of the SUBJECT ACCOUNTS by other means.

                    V.   BACKGROUND ON EMAIL, SOCIAL
            MEDIA, AND ELECTRONIC COMMUNICATION SERVICES AND THE
                                  PROVIDERS

      56.    In my training and experience, I have learned that

providers of email, social media, and electronic communication

services offer a variety of online services to the public.

Providers, like the PROVIDERS, allow subscribers to obtain

accounts like the SUBJECT ACCOUNTS.        Subscribers obtain an

account by registering with the provider.         During the

registration process, providers generally ask their subscribers

to provide certain personal identifying information when

registering for an email or social media account.          Such

information can include the subscriber’s full name, physical



     31 At the time this chat apparently took place, B. CHAVEZ’s
niece, who was present during the execution of the search
warrant, was about 6 months and a week old. After viewing chats
alleging abuse of a “niece,” SAs contacted Juan Chavez, the
father of the niece, to advise him of these claims and ask to
forensically interview the niece. Juan Chavez declined to have
the niece interviewed, saying the niece was never alone so there
would not have been opportunity for abuse to take place. The
Department of Child and Family Services was involved in this
investigation during the execution of the search warrant.
       To my knowledge, B. CHAVEZ has not lived in Torrance,
      32
California, but based on my training and experience, individuals
do not always give an accurate location when communicating with
others online.
                                30
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address, telephone numbers and other identifiers, alternative

email addresses, and, for paying subscribers, means and source

of payment (including any credit or bank account number).           Some

providers also maintain a record of changes that are made to the

information provided in subscriber records, such as to any other

email addresses or phone numbers supplied in subscriber records.

In my training and experience, such information may constitute

evidence of the crimes under investigation because the

information can be used to identify the user(s) of an account.

      57.   Therefore, the computers of the PROVIDERS are likely

to contain stored electronic communications and information

concerning subscribers and their use of the PROVIDERS’ services,

such as account access information, email or message transaction

information, and account application information.          In my

training and experience, such information may constitute

evidence of the crimes under investigation because the

information can be used to identify the user(s) of the SUBJECT

ACCOUNTS.

      58.   A subscriber of the PROVIDERS can also store with the

PROVIDERS files in addition to emails or other messages, such as

address books, contact or buddy lists, groups, social network

links, calendar data, pictures or videos (other than ones

attached to emails), notes, and other files, on servers

maintained and/or owned by the PROVIDERS.         In my training and

experience, evidence of who was using an account may be found in

such information.


                                    31
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      59.   In my training and experience, email, social media,

and electronic communication providers typically retain certain

transactional information about the creation and use of each

account on their systems.      This information can include the date

on which the account was created, the length of service, records

of login (i.e., session) times and durations, the types of

service utilized, the status of the account (including whether

the account is inactive or closed), the methods used to connect

to the account (such as logging into the account via the

provider’s website), and other log files that reflect usage of

the account.    In addition, email, social media, and electronic

communication providers often have records of the IP address

used to register the account and the IP addresses associated

with particular logins to the account.        Because every device

that connects to the Internet must use an IP address, IP address

information can help to identify which computers or other

devices were used to access the SUBJECT ACCOUNTS.

      60.   In my training and experience, email, social media,

and electronic communication users will sometimes communicate

directly with the service provider about issues relating to the

account, such as technical problems, billing inquiries, or

complaints from other users.       Providers of email, social media,

and electronic communication services typically retain records

about such communications, including records of contacts between

the user and the provider’s support services, as well records of

any actions taken by the provider or user as a result of the


                                    32
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communications.    In my training and experience, such information

may constitute evidence of the crimes under investigation

because the information can be used to identify the user(s) of a

SUBJECT ACCOUNT.

      61.    In my training and experience, providers also keep a

record of search queries run by the user of the account, whether

searches within the services of the provider for persons,

content, or other accounts (such as if a user is trying to find

the account of an acquaintance), or broader Internet searches.

In some instances, providers may also keep records of which

websites or contents were “clicked on” as a result of these

searches.    This information is helpful in the context of the

case to show the topics about which the user was trying to

obtain more information or conduct research, and is relevant for

“user attribution” evidence, analogous to the search for

“indicia of occupancy” while executing a search warrant at a

residence.

      62.    Users of accounts are often required to include an

email account as well as a phone number in subscriber records.

The email account may be an email account hosted at the same

provider, or an account at a different provider.          The email

account is referred to by a number of names, such as a secondary

email account, a recovery email account, or an alternative email

account or communication channel.        That email account is often

used when the identity of the user of the primary account (here,

the SUBJECT ACCOUNTS) needs to be verified, for example if a


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password is forgotten, so that the provider can confirm that the

person trying to access the account is the authorized user of

the account.     Similarly, the telephone number used in subscriber

records is often used to send a passcode via text (or “SMS”)

that must be presented when trying to gain access to an account,

either in a similar scenario where a user forgot his or her

password, or when users implement what is referred to as “two-

factor authentication” (where the password is one factor, and

the passcode sent via text message to a mobile device is a

second).     In either scenario, the user of a primary email

account and a secondary email account or phone number listed in

subscriber records are very often the same person, or at least

are close and trusted and/or working in concert.          That is

because access to either the secondary email account or to the

phone number listed in subscriber records can allow access to

the primary account.

      63.    The subscriber will also generally need to use a

password that will allow the user to gain access to the account.

Many providers do not store the password directly, rather they

use an algorithm (often referred to as a “hashing” algorithm)

that is performed on the password and generates a new random of

string of numbers and characters, which is what the provider may

store.     When a user enters his or her password, the hashing

algorithm is performed on the password before it is presented to

the provider, and the provider will verify the hash value for

the password (rather than the password itself) to authorize


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access to the account.      As an added security feature, some

providers insert additional text before or after the password,

which additional text is referred to as “salting” the password.

The hashing algorithm is then performed on the combined password

and salt, which is the hash value that will be recognized by the

provider.     Alternatively or in addition to passwords, users may

be required to select or propose a security question, and then

provide an answer, which can be used to substitute for a

password or to retrieve or reset a user’s password.

      64.     Providers of email, social media, and electronic

communication services often maintain, have access to, and store

information related to the location of the users of accounts

they service.     That information may be obtained by the provider

in a number of ways.     For example, a user may access the

provider’s services by running an application on the user’s

phone or mobile device, which application has access to the

location information residing on the phone or mobile device,

such as Global Positioning System (“GPS”) information.           It may

also be accessible through “check-in” features that some

providers offer that allow users to transmit or display their

location to their “friends” or “acquaintances” via the provider.

   VI.      BACKGROUND ON THE SEIZURE OF DIGITAL EVIDENCE FROM THE
                                   PROVIDERS

      65.     I know from my training and experience that the

complete contents of an account may be important to establishing

the actual user who has dominion and control of that account at

a given time.     Accounts may be registered in false names or

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screen names from anywhere in the world with little to no

verification by the service provider.        They may also be used by

multiple people.     Given the ease with which accounts may be

created under aliases, and the rarity with which law enforcement

has eyewitness testimony about a defendant’s use of an account,

investigators often have to rely on circumstantial evidence to

show that an individual was the actual user of a particular

account.    Only by piecing together information contained in the

contents of an account may an investigator establish who the

actual user of an account was.       Often those pieces will come

from a time period before the account was used in the criminal

activity.    Limiting the scope of the search would, in some

instances, prevent the government from identifying the true user

of the account and, in other instances, may not provide a

defendant with sufficient information to identify other users of

the account.    Therefore, the contents of a given account,

including the email addresses or account identifiers and

messages sent to that account, often provides important evidence

regarding the actual user’s dominion and control of that

account.    For the purpose of searching for content demonstrating

the actual user(s) of a SUBJECT ACCOUNT, I am requesting a

warrant requiring the PROVIDERS to turn over all information

associated with the SUBJECT ACCOUNTS with the date restriction

included in Attachments B-1, B-2, B-3, B-4, and B-5 for review

by the search team.




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      66.   Relatedly, the government must be allowed to determine

whether other individuals had access to the SUBJECT ACCOUNTS.

If the government were constrained to review only a small

subsection of an account, that small subsection might give the

misleading impression that only a single user had access to the

account.

      67.   I also know based on my training and experience that

criminals discussing their criminal activity may use slang,

short forms (abbreviated words or phrases such as “lol” to

express “laugh out loud”), or codewords (which require entire

strings or series of conversations to determine their true

meaning) when discussing their crimes.        They can also discuss

aspects of the crime without specifically mentioning the crime

involved.    In the electronic world, it is even possible to use

pictures, images and emoticons (images used to express a concept

or idea such as a happy face inserted into the content of a

message or the manipulation and combination of keys on the

computer keyboard to convey an idea, such as the use of a colon

and parenthesis :) to convey a smile or agreement) to discuss

matters.    “Keyword searches” would not account for any of these

possibilities, so actual review of the contents of an account by

law enforcement personnel with information regarding the

identified criminal activity, subject to the search procedures

set forth in Attachments B-1, B-2, B-3, B-4, and B-5, is

necessary to find all relevant evidence within the account.




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      68.   This application seeks a warrant to search all

responsive records and information under the control of the

PROVIDERS, which is subject to the jurisdiction of this court,

regardless of where the PROVIDERS have chosen to store such

information.

            a.   I make that request because I believe it might be

impossible for a provider to authenticate information taken from

the SUBJECT ACCOUNTS as its business record without the original

production to examine.      Even if the provider kept an original

copy at the time of production (against which it could compare

against the results of the search at the time of trial), the

government cannot compel the provider to keep a copy for the

entire pendency of the investigation and/or case.          If the

original production is destroyed, it may be impossible for the

provider to examine a particular document found by the search

team and confirm that it was a business record of the provider

taken from the SUBJECT ACCOUNTS.

            b.   I also know from my training and experience that

many accounts are purged as part of the ordinary course of

business by providers.      For example, if an account is not

accessed within a specified time period, it -- and its contents

-- may be deleted.     As a consequence, there is a risk that the

only record of the contents of an account might be the

production that a provider makes to the government, for example,

if a defendant is incarcerated and does not (perhaps cannot)

access his or her account.      Preserving evidence, therefore,


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would ensure that the government can satisfy its Brady

obligations and give the defendant access to evidence that might

be used in his or her defense.

                   VII. BACKGROUND ON KIK MESSENGER

      69.   MediaLab owns Kik Messenger (“Kik”), a free instant

messenger application for mobile devices.         Kik is available on

several mobile device platforms, including iOS, Android, and

Windows Phone operating systems.         The Kik application utilizes

the Internet connection through the mobile devices’ cellular

data plan or through Wi-Fi to send and receive messages, photos,

videos, sketches, mobile webpages, and other content transmitted

by users through the Kik application.

      70.   Kik allows its users to register a user account

without providing a telephone number and prevents users from

being located on the service through any information other than

their chosen, unique Kik username.         At the completion of the

account registration, the user is allowed to start communicating

with other Kik users.     Searching for specific Kik users can only

be performed using a Kik user’s registered username; searches by

phone number or email address cannot be performed.          Entering the

unique Kik username through the application’s search field

yields potential matches with which the user can select to start

communicating.

      71.   Kik usernames are unique in that more than one user

cannot have the same username and once a username is registered

to a particular user, the alphanumeric combination comprising


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the username cannot be used by any other person.          Searching for

the unique username is the only way to find a specific user.

Each Kik user, when signed into their username, can choose a

display name.    The display name does not need to match the

username, but it can if the user so chooses.         When users choose

the display name tied to their username, the display name can be

the same as other display names.         While a username is used for

finding a user, once users connect, the display name for each

user is what is shown in the chats between and among users.

Based on my training and experience, I know that chat

applications are often used to communicate with others,

including during the commission of crimes.         In particular, I

know that Kik has become a chat application popular with

individuals who have a sexual interest in children and images of

children to discuss their interest with other like-minded

individuals, including to share images and videos of child

pornography.

               VIII.     SERVICES PROVIDED BY GOOGLE LLC

      72.   Based on a review of information provided by Google

regarding its services, information provided by other law

enforcement officers, and my training and experience, I am aware

of the information contained in this section of the affidavit

regarding Google.

      73.   Google provides a variety of online services, many

through Google Accounts, including email, document storage,

mobile operating systems, translation services, software coding


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tools, malware analysis, social media accounts, applications

development tools, video and photograph sharing and storage, web

feed management tools, personalized home pages, news aggregation

tools, a Google Account “dashboard” tool, an online retail

storefront offering applications for free and for sale, website

analytic tools, calendars, web browsers, mapping tools, location

tracking tools, and telephone and voicemail transcription to the

public.

      74.    Google Calendar (Google’s appointment book service)

allows users to create events or RSVP to events created by

others.     A single Google Account can set up multiple calendars.

A calendar can be shared with other Google Accounts by the user

or made public so anyone can access it.        Users also have the

option to sync their device calendar so it is stored in Google

Calendar.

      75.    Google also offers numerous services which enhance the

user’s Internet experience, including Google Dashboard, Google

News, and Google Groups.      Google News and the now-discontinued

Google Reader are website feed aggregators that allowed a user

to view website articles and news in one centralized location.

Google Groups are email groups whereby one person can send an

email to an email address that serves as the “group,” and the

message or email is either or both posted to a centralized

location and/or sent to everyone who is currently subscribed to

the group via email; each group is generally set up using a

Google account.


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      76.    Google also offers a service called Google Hangouts

(which is transitioning to Google Chat), which allows Google

users to communicate by means of video calls, phone or audio

calls, or written messages.

      77.    Google also offers its own web browser -- Google

Chrome -- which can be used instead of other web browsers such

as Microsoft Internet Explorer or Mozilla Firefox.          Google

Chrome retains a record of a user’s browsing history and allows

users to save favorite sites as bookmarks for easy access.           If a

user is logged into their Google Account on Chrome and has the

appropriate settings enabled, their browsing history, bookmarks,

and other browser settings may be saved to their Google Account

in a record called My Activity.       Users who have a Google Account

can use Google Chrome on multiple devices and can decide which

information “syncs” or synchronizes across multiple devices that

are running Google Chrome.      Devices that can be synced include

computers, Google’s own computers called Chromebooks, devices

running Google’s own Android operating system, or iPhones or

iPads (devices made by Apple, Inc. that use Apple’s proprietary

operating systems).     Users have the option to sync all data

across multiple devices, or only certain information by checking

certain boxes.

      78.    Users can obtain a Google Account by registering with

Google.     During the registration process, Google generally asks

subscribers to provide certain personal identifying information

when registering.     Such information can include the subscriber’s


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full name, physical address, telephone numbers and other

identifiers, alternative email addresses, and, for paying

subscribers, means and source of payment (including any credit

or bank account number).      Google may also maintain a record of

changes that are made to the information provided in subscriber

records, such as to any other email addresses or phone numbers

supplied in subscriber records.       In my training and experience,

such information may constitute evidence of the crimes under

investigation because the information can be used to identify

the user(s) of an account.

      79.   Evidence of who it is that a user of an account has

contacted and for what purpose can also reside in the

information likely stored on a SUBJECT ACCOUNT at Google.           For

example, photographs can be stored not only as attachments to

emails, but they can be linked to a particular contact stored in

connection with an email account, they can be stored in

connection with a particular “friend” or event on a Google+

account, or they can be stored in a Google Photos (formerly

Picasa) web album.     Albums can be compiled for a particular trip

or occasion, documenting who was present, when it took place,

and where it was -- for example by recovering location

information that is sometimes stored in metadata, or what is

referred to as “EXIF data” on digital photographs.          Likewise,

personal videos can be uploaded to or downloaded from video

services such as Google’s YouTube.       All of this data can assist




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in identifying the true identity of the account user and persons

with whom the user of the account has been in contact.

      80.   Aside from photos, the discontinued Google+, Google

Plusone, and iGoogle services were social networking services

similar to Facebook.     Data residing on Google+, Google Plusone,

and iGoogle accounts is likely to provide information regarding

the true identity of the person(s) using a SUBJECT ACCOUNT, the

identities of persons with whom the user of a SUBJECT ACCOUNT

has been in contact, the nature of those contacts, and whether

any such contacts were related to the subject matter of the

investigation described above.       Furthermore, a user’s history

that relates to web browsing, web searches, and certain activity

related to Google services or applications (or “apps”) are

stored in an account’s Google History, or Google Web & App

Activity.

      81.   In addition to storing photographs, calendars, and

other evidence related to social media, a subscriber can also

sign up for other services at Google, such as Google Drive and

Google Keep, which allow users to store any kind of documents.

Google Drive is a cloud storage service that allows users to

store an unlimited number of documents created by Google

applications such as Google Docs, Google Sheets, Google Forms,

and Google Slides. Users can also upload files to Google Drive,

including photos, videos, PDFs, and text documents, until they

hit the storage limit.      Users can set up their personal devices

to automatically back up files to Google Drive.          Google Drive


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allows users to share their stored files and documents with up

to 100 people and grant those with access the ability to edit or

comment.    Google maintains records of changes to documents

edited in Google applications.       Google Keep is a cloud-based

notetaking service that lets users take notes and share them

with other Google users to view, edit, or comment.

      82.   A subscriber can also store with Google files in

addition to emails or other messages, such as address books,

contact or buddy lists, groups, social network links, calendar

data, pictures or videos (other than ones attached to emails),

notes, and other files, on servers maintained and/or owned by

the PROVIDER.    In my training and experience, evidence of who

was using an account may be found in such information.

      83.   Providers like Google typically retain certain

transactional information about the creation and use of each

account on their systems.      This information can include the date

on which the account was created, the length of service, records

of login (i.e., session) times and durations, the types of

service utilized, the status of the account (including whether

the account is inactive or closed), the methods used to connect

to the account, and other log files that reflect usage of the

account.    In addition, email and social media providers often

have records of the Internet Protocol (“IP”) address used to

register the account and the IP addresses associated with

particular logins to the account.        Because every device that

connects to the Internet must use an IP address, IP address


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information can help to identify which computers or other

devices were used to access a SUBJECT ACCOUNT.

      84.   Google also collects and retains data about the

location from which Google Account services are accessed on any

mobile device.    According to Google, this location data may be

associated with the Google Account signed-in or registered to

the device if Location Services are activated on the device and

the user has enabled certain global settings for their Google

Account, such as Location History or Web & App Activity

tracking.   The data retained includes precision location data,

like latitude and longitude coordinates derived from GPS.

      85.   In addition, Google Maps provides a mapping tool that

allows users to search for addresses or points of interest, save

locations (such as their home and work locations), create custom

maps, make changes and edits to public places, “star” locations,

and create private labels for locations.        Users can share their

real-time location with others through Google Maps by using the

Location Sharing feature.      Users could find and plan an

itinerary using the discontinued Google Trips, whose

functionality is now part of Google Travel.         Google Location

History provides GPS location information.         All of these

services can be used to identify where an individual is and has

been physically located.      Google also in some instances

maintains records of the nearby wireless or “Wi-Fi” access

points (that can be used to connect to the Internet) or the




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cellular towers connected to a device that is accessing a Google

Account.

      86.   Google offers services which interpret and translate

text, including Google Translate (which allow users to paste

text in one language that will be translated into another) and

Google Translator Toolkit (which includes more functionality and

collaboration), which can translate text in over 100 languages.

The translation service is Internet-based, so it can be used by

the user of the account to translate emails received as well as

websites visited.

      87.   Over the last several years, Google has developed a

number of mobile telephone and voicemail technologies, including

the development of the Android mobile operating system, Android

Market, Google Voice, and the discontinued Google Talk.           The

Android operating system is used on the majority of the world’s

touch-screen mobile devices and smartphones, and facilitates the

downloading and running of games and applications, sending of

text and voice messages, connecting to and searching the

Internet, and providing of GPS and location services, camera

services for the taking of photographs and videos (including

video calling), clock and calendar services, and email services,

and storing of contact lists and documents.         The Google Play

service provides the virtual storefront at which applications

can be downloaded and updated.       I know from experience that

Android applications including these are generally downloaded

from the Android Market and Google Play services.          Through


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Google Voice, users can be assigned a telephone number that can

be used to make, record, and forward phone calls and send,

receive, store, and forward SMS and MMS messages from a web

browser, mobile phone, or landline.        Google Voice also includes

a voicemail service.     Google Talk was an instant messaging

service that provided both text and voice communication.

      88.   Google also uses “unique application numbers,” which

Google uses to record information such as the operating system

type and the application version number used to access Google by

a particular device.     Google maintains these unique application

numbers to track and collect information related to a particular

device accessing Google services, which is recognized when

updating Google services or software on a device using a Google

Account.

      89.   Google also now offers users the ability to exercise

certain control over email messages, for example by allowing

users to send expiring messages, to require a recipient to

insert a password to open a message, to retract access to a sent

message, or to control whether a recipient can forward a

message.

      90.   Depending on whether a user of a Google Account

implemented Google’s two-factor authentication system (which can

require the user to enter both a username and password and a

code sent to one’s cell phone), Google may also have

authentication logs of when the user successfully authenticated

or identified him- or herself when logging into an account.


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Similarly, for certain mobile devices, a password for the

specific “app” installed on the mobile device may be generated

and used to maintain access.

      91.    In some cases, users may communicate directly with

Google about issues relating to their accounts, such as

technical problems, billing inquiries, or complaints from other

users.     Providers like Google typically retain records about

such communications, including records of contacts between the

user and the provider’s support services, as well as records of

any actions taken by the provider or user as a result of the

communications.

                IX.   SERVICES PROVIDED BY TWITTER, INC.

      92.    Based on a review of information provided by Twitter

regarding its services, information provided by other law

enforcement officers, and my training and experience, I am aware

of the information contained in this section of the affidavit

regarding Twitter.

      93.    Twitter owns and operates a free-access social-

networking website of the same name that can be accessed at

http://www.twitter.com, through Twitter’s applications, or using

a compatible third-party application.        Twitter allows its users

to create their own profile pages, which can include a short

biography, a photo, and location information.         Twitter also

permits users to create and read 280-character messages called

“Tweets,” and to restrict their “Tweets” to users whom they

approve.


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        94.   Upon creating a Twitter account, a Twitter user must

create a unique Twitter username and an account password, and

the user may also select a different name of 20 characters or

fewer to identify their Twitter account.        The Twitter user may

also change this username, password, and name without having to

open a new Twitter account.

        95.   Twitter asks users to provide basic identity and

contact information, either during the registration process or

thereafter.     This information may include the user’s full name,

email addresses, physical address, date of birth, gender,

hometown, occupation, and other personal identifiers.           For each

user, Twitter may also retain information about the date and

time at which the user’s profile was created, the date and time

at which the account was created, and the Internet Protocol

(“IP”) address at the time of sign-up.        Twitter may also

maintain a record of changes that are made to the information

provided in subscriber records, such as additional email

addresses or phone numbers supplied by a user.

        96.   A Twitter user can post a personal photograph or image

(also known as an “avatar”) to his or her profile and can also

change the profile background or theme for his or her account

page.    Twitter profiles can include a location, website and

birth date entered by the user.       Twitter users can also post

“bios” of 160 characters or fewer to their profile pages.

        97.   In addition, Twitter keeps IP logs for each user.

These logs contain information about the user’s logins to


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Twitter including, for each access, the IP address assigned to

the user and the date stamp at the time the user accessed his or

her profile.    Because every device that connects to the Internet

must use an IP address, IP address information can help to

identify which computers or other devices were used to access a

SUBJECT ACCOUNT.

      98.    As noted above, Twitter users can use their Twitter

accounts to post “Tweets” of 280 characters or less (this limit

was originally 140 characters).       Each Tweet includes a timestamp

that displays when the Tweet was posted to Twitter.          Twitter

users can also “favorite,” “retweet,” or reply to the Tweets of

other users.    In addition, when a Tweet includes a Twitter

username (often preceded by the @ sign) Twitter designates that

Tweet a “mention” of the identified user.         In the “Connect” tab

for each account, Twitter provides the user with a list of other

users who have “favorited” or “retweeted” the user’s own Tweets,

as well as a list of all Tweets that include the user’s username

(i.e., a list of all “mentions” and “replies” for that

username).

      99.    Twitter users can also include photographs or images

in their Tweet and each Twitter account is provided a user

gallery that includes images that the user has shared on

Twitter, including images uploaded by other services.

      100. Additionally, Twitter users can opt-in to include

location data in their Tweets, which will reveal the user’s

locations at the time they post each Tweet.


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      101. When Twitter users want to post a Tweet that includes

a link to a website, they can use Twitter’s link service, which

converts the longer website link into a shortened link that

begins with http://t.co.      This link service also measures how

many times a link has been clicked.

      102. A Twitter user can “follow” other Twitter users, which

means subscribing to those users’ Tweets and site updates.           Each

user profile page includes a list of the people who are

following that user (i.e., the user’s “followers” list) and a

list of people whom that user follows (i.e., the user’s

“following” list).     Twitters users can “unfollow” users they

previously followed, and they can also adjust the privacy

settings for their profile so that their Tweets are visible only

to the people whom they approve.         A Twitter user can also group

other Twitter users into “lists” that display on the right side

of the user’s home page on Twitter.         Twitter also provides users

with a list of “Who to Follow,” which includes a few

recommendations of Twitter accounts that the user may find

interesting, based on the types of accounts that the user is

already following and who those people follow.

      103. In addition to posting Tweets, a Twitter user can send

Direct Messages (“DMs”) to one of their followers.          These

messages are typically visible only to the sender and the

recipient.    As of January 2012, Twitter displays only the last

100 DMs to a particular user, but older DMs are stored in

Twitter’s database.


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      104. If a Twitter user does not want to interact with

another user on Twitter, that user can “block” the second user

from following his or her account.

      105. Twitter also includes a search function that enables

its users to search all public Tweets for keywords, usernames,

or subject, among other things.       A Twitter user may save up to

25 past searches.

      106. In some cases, users may communicate directly with

Twitter about issues relating to their accounts, such as

technical problems, billing inquiries, or complaints from other

users.   Social networking providers like Twitter typically

retain records about such communications, including records of

contacts between the user and Twitter’s support services, as

well as records of any actions taken by Twitter or user as a

result of the communications.

      107. As explained herein, information stored in connection

with a Twitter account may provide information that can be used

to identify the user(s) of a SUBJECT ACCOUNT.         For example,

profile contact information, communications, “tweets” (status

updates) and “tweeted” photos (and the data associated with the

foregoing, such as date and time) may include evidence of who

used or controlled a SUBJECT ACCOUNT at a relevant time.           An

account’s account activity can also contain information about

how, when, or where the account was accessed or used, including

the IP addresses from which users accessed their accounts, along

with the time and date information, as well as geo-location


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information.    In my training and experience, such information

may constitute evidence of the crimes under investigation

because the information can be used to identify the user(s) of a

SUBJECT ACCOUNT.

                             X.    CONCLUSION

      108. Based on the foregoing, I request that the Court issue

the requested warrant.      The government will execute this warrant

by serving the warrant on the PROVIDERS.        Because the warrant

will be served on the PROVIDERS, which will then compile the

requested records at a time convenient to it, reasonable cause

exists to permit the execution of the requested warrant at any

time in the day or night.




 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
 telephone on this ____ day of
 July, 2022.



 UNITED STATES MAGISTRATE JUDGE




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